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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                                          CASE NO.: 6:24-cv-00517-WWB-DCI
HOWARD COHAN,

      Plaintiff,

vs.                                           INJUNCTIVE RELIEF SOUGHT


EHP ORLANDO HOTEL LLC
a Foreign Limited Liability Company
d/b/a LA QUINTA BY WYNDAM
ORLANDO I DRIVE CONVENTION
CENTER

     Defendant(s).
____________________________________/

                            AMENDED COMPLAINT

      Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned

counsel, hereby files this Amended Complaint and sues EHP ORLANDO HOTEL

LLC, a Foreign Limited Liability Company, d/b/a LA QUINTA BY WYNDAM

ORLANDO I DRIVE CONVENTION CENTER (“Defendant”), for declaratory

and injunctive relief, attorneys’ fees, expenses and costs (including, but not limited

to, court costs and expert fees) pursuant to 42 U.S.C. § 12182 et. seq., and the 2010

Americans with Disabilities Act (“ADA”) and alleges as follows:
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                          JURISDICTION AND VENUE

      1.     This Court is vested with original jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42

U.S.C. § 12182 et. seq., based on Defendant’s violations of Title III of the ADA.

See also, 28 U.S.C. §§ 2201, 2202, as well as the 2010 ADA Standards.

      2.     Venue is proper in this Court, Orlando Division, pursuant to 28 U.S.C.

§ 1391(B) and Internal Operating Procedures for the United States District Court

For the Middle District of Florida in that all events giving rise to the lawsuit

occurred in Orange County, Florida.

                                       PARTIES

      3.     Plaintiff, HOWARD COHAN is sui juris and is a resident of the State

of Florida residing in Palm Beach County, Florida.

      4.     Upon information and belief, Defendant is the lessee, operator, owner

and lessor of the Real Property, which is subject to this suit, and is located at 8504

Universal Boulevard, Orlando, Florida 32819, (“Premises”), and is the owner of

the improvements where Premises is located.

      5.     Defendant is authorized to conduct, and is in fact conducting, business

within the state of Florida.

      6.     Plaintiff is an individual with numerous permanent disabilities

including severe spinal stenosis of the lumbar spine with spondylolisthesis; severe
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spinal stenosis of the cervical spine with nerve root compromise on the right side; a

non-union fracture of the left acromion (shoulder); a labral tear of the left shoulder;

a full thickness tear of the right rotator cuff; a right knee medial meniscal tear; a

repaired ACL and bilateral meniscal tear of the left knee; and severe basal joint

arthritis of the left thumb. The above listed permanent disabilities and symptoms

cause sudden onsets of severe pain and substantially limit Plaintiff’s major life

activities. As a result of these medical conditions, Plaintiff suffers body weakness,

mobility limitations, abnormal gate, and abnormal balance. Additionally, his ability

to lift, reach, bend, stretch and twist are substantially restricted.

       7.     At the time of Plaintiff’s visit to the Premises on August 30, 2023,

(and prior to instituting this action), Plaintiff suffered from a “qualified disability”

under the ADA, and required the use of fully accessible and properly marked

passenger loading zone, fully accessible service and eating areas, fully accessible

restrooms, and safe and unobstructed access to the pool and pool area. Plaintiff

personally visited the Premises, but was denied full and equal access and full and

equal enjoyment of the facilities and amenities within the Premises, even though he

would be classified as a “bona fide patron”.

       8.     Plaintiff, in his individual capacity, will absolutely return to the

Premises and avail himself of the services offered when Defendant modifies the
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Premises or modifies the policies and practices to accommodate individuals who

have physical disabilities.

      9.     Plaintiff is continuously aware of the violations at Defendant's

Premises and is aware that it would be a futile gesture to return to the Premises as

long as those violations exist, and Plaintiff is not willing to suffer additional

discrimination.

      10.    Plaintiff has suffered, and will continue to suffer, direct and indirect

injury as a result of Defendant's discrimination until Defendant is compelled to

comply with the requirements of the ADA. Plaintiff’s abnormal medical conditions

and resulting disabilities as listed in the Counts below of this Complaint required

the use of fully accessible and properly marked passenger loading zone, fully

accessible service and eating areas, fully accessible restrooms, and safe and

unobstructed access to the pool and pool area., and otherwise affects Plaintiff’s

ability to enjoy places of public accommodation such as the Premises as further

detailed throughout this Complaint.

      11.    Plaintiff would like to be able to be a patron of the Premises in the

future and be able to enjoy the goods and services that are available to the able-

bodied public, but is currently precluded from doing so as a result of Defendant's

discriminatory conduct as described herein. Plaintiff will continue to be precluded
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from using the Premises until corrective measures are taken at the Premises to

eliminate the discrimination against persons with physical disabilities.

       12.   Plaintiff frequently travels to the Orlando Area. During these trips he

visits restaurants, bars, shops, hotels, gas stations, entertainment venues, and any

other places of public accommodation in the area. In this area, Plaintiff visits with

friends, goes on vacations, and otherwise takes sporadic trips for shopping and

leisure.

       13.   In three years prior to the instant trip, Plaintiff has specific knowledge

of having traveled to the area in and around Defendant’s location, on the following

known and documented dates:

       November 3, 2021, November 4, 2021, April 24, 2022, April 25, 2022,

       March 10, 2023, March 11, 2023, and August 10, 2023.

The number of visits to this area far exceed these listed visits, but these dates can

be specifically verified based on receipts and/or photographs. In reality, Plaintiff’s

visits were likely even curtailed slightly due to the pandemic and travel

restrictions. But for the pandemic, Plaintiff would have had even more visits.

       14.   Plaintiff has already returned to the area in question where the

premises is located, on the following known and documented dates:

       April 3, 2024 and April 4, 2024
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       15.       Plaintiff again intends return to the area where the Premises is located,

as he has on countless occasions previously, and as he will on countless occasions

in the future.

       16.       Completely independent of the personal desire to have access to this

place of public accommodation free of illegal barriers to access, Plaintiff also acts

as a “tester” for the purpose of discovering, encountering and engaging

discrimination against the disabled in public accommodations. When acting as a

“tester”, Plaintiff employs a routine practice which was employed in this matter.

Plaintiff personally visits the public accommodation, as Plaintiff did here and

engages all of the barriers to access, or at least of those that Plaintiff is able to

access. Plaintiff tests all of those barriers to access to determine whether and the

extent to which they are illegal barriers to access. Plaintiff then proceeds with legal

action to enjoin such discrimination. Upon resolution of the action and an

agreement by the defendant to fix the barriers to access, Plaintiff will subsequently

return to the premises to verify its compliance or non-compliance with the ADA

and to otherwise use the public accommodation as members of the able-bodied

community are able to do. If the premises is not in compliance upon his return,

Plaintiff has repeatedly brought breach of contract actions against the defendants

for their failures to fix the barriers to access. In some instances, Plaintiff has even
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filed four and five separate actions against the same premises so as to ensure that

they finally comply with the ADA.

      17.    Plaintiff fully intends and will return to this Premises in this tester

capacity and will pursue his routine practice of ensuring compliance. Independent

of his personal reasons for subsequent visits to this Premises as outlined above,

Plaintiff intends to visit the Premises regularly to verify its compliance or non-

compliance with the ADA, and its maintenance of the accessible features of

Premises.

      18.    In this instance, Plaintiff, in Plaintiff’s individual capacity and as a

“tester”, visited Premises, encountered barriers to access at Premises, and engaged

and tested those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access and the ADA

violations set forth herein. It is Plaintiff’s belief that said violations will not be

corrected without Court intervention, and thus Plaintiff will suffer legal harm and

injury in the near future.

      19.    Plaintiff, in his capacity as a tester, will absolutely return to the

Premises when either Defendant enters into an agreement to modify the Premises

and/or an agreement to modify the policies and practices to accommodate

individuals who have physical disabilities or otherwise advises Plaintiff that the

barriers to access and discriminatory policies have been removed. The purpose of
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said visit will be to confirm said modifications and policy changes have been

completed in accordance with the requirements of the ADA.

      20.      On July 26, 1990, Congress enacted the Americans With Disabilities

Act (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided

one and a half (1.5) years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992, or

January 26, 1993 if Defendants(s) have ten (10) or fewer employees and gross

receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

      21.      Congress found, among other things, that:

            a. some 43,000,000 Americans have one or more physical or mental

               disabilities, and this number shall increase as the population continues

               to grow older;

            b. historically, society has tended to isolate and segregate individuals

               with disabilities and, despite some improvements, such forms of

               discrimination against disabled individuals continue to be a pervasive

               social problem, requiring serious attention;

            c. discrimination against disabled individuals persists in such critical

               areas    as      employment,    housing,       public   accommodations,

               transportation, communication, recreation, institutionalization, health

               services, voting and access to public services and public facilities;
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            d. individuals     with   disabilities      continually    suffer   forms     of

               discrimination,    including        outright   intentional   exclusion,   the

               discriminatory     effects     of     architectural,   transportation,    and

               communication barriers, failure to make modifications to existing

               facilities and practices. Exclusionary qualification standards and

               criteria, segregation, and regulation to lesser services, programs,

               benefits, or other opportunities; and,

            e. the continuing existence of unfair and unnecessary discrimination and

               prejudice denies people with disabilities the opportunity to compete

               on an equal basis and to pursue those opportunities for which our

               country is justifiably famous, and accosts the United States billions of

               dollars in unnecessary expenses resulting from dependency and non-

               productivity.

42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

      22.      Congress explicitly stated that the purpose of the ADA was to:

            a. provide a clear and comprehensive national mandate for elimination

               of discrimination against individuals with disabilities;

            b. provide clear, strong, consistent, enforceable standards addressing

               discrimination against individuals with disabilities; and
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             c. invoke the sweep of congressional authority, including the power to

                enforce the fourteenth amendment and to regulate commerce, in order

                to address the major areas of discrimination faced on a daily basis by

                people with disabilities.

 U.S.C. § 12101(b)(1)(2) and (4).

       23.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010

 ADA Standards, Defendant’s Premises is a place of public accommodation

 covered by the ADA by the fact they provide services to the general public and

 must be in compliance therewith.

       24.      Defendant has discriminated and continue to discriminate against

 Plaintiff and others who are similarly situated, by denying access to, and full and

 equal enjoyment of goods, services, facilities, privileges, advantages and/or

 accommodations located at the Premises, as prohibited by 42 U.S.C. § 12182 and

 42 U.S.C. § 12101 et. seq., and by failing to remove architectural barriers pursuant

 to 42 U.S.C. § 12182(b)(2)(A)(iv).

       25.      Plaintiff has visited Premises, and has been denied full and safe equal

 access to the facilities and therefore suffered an injury in fact.

       26.      Plaintiff would like to return and enjoy the goods and/or services at

 Premises on a spontaneous, full and equal basis. However, Plaintiff is precluded

 from doing so by the Defendant’s failure and refusal to provide disabled persons
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 with full and equal access to their facilities. Therefore, Plaintiff continues to suffer

 from discrimination and injury due to the architectural barriers that are in violation

 of the ADA.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

 the Department of Justice, Officer of the Attorney General promulgated Federal

 Regulations to implement the requirements of the ADA. See 28 C.F.R. § 36 and its

 successor the 2010 ADA Standards ADA Accessibility guidelines (hereinafter

 referred to as “ADAAG”), 28 C.F.R. § 36, under which said Department may

 obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for

 and subsequent violation.

        VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       28.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

 through 27 above as if fully stated herein.

       29.     Based on a preliminary inspection of the Premises, Defendant is in

 violation of 42 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act

 Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia,

 the following specific violations:

       Passenger Drop-Off Area
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          a. Failure to provide a passenger loading zone with an access aisle

             marked with striping in violation of 2010 ADAAG §§ 209, 209.1,

             209.4, 503, 503.1, 503.3 and 503.3.3. Plaintiff requires an accessible

             entry to the hotel, including a passenger loading zone due to his

             injuries, specifically his back and knee injuries making it difficult to

             walk long distances. Where there is an unmarked and unsafe loading

             zone, Plaintiff is unable to access the drop-off area like other, non-

             disabled hotel patrons.

       Food Service Area

          b. Failure to provide seating for a person(s) with a disability that has the

             correct clear floor space for forward approach in violation of 2010

             ADAAG §§ 902, 902.2, 305 and 306. Plaintiff requires seating that is

             of the proper clearance as his disabilities, specifically those relating to

             his back and legs, make it painful to sit should there be not enough

             room to maneuver into the seat or knee clearance to remain seated.

             Additionally, due to back and leg issues, Plaintiff requires that his legs

             be extended without obstruction and still be able to maintain the

             ability to utilize the table surface requiring proper toe and knee

             clearance under the tables.
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          c. Failure to provide a sufficient amount of seating when dining surfaces

             are provided for the consumption of food or drink for a person(s) with

             a disability in violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and

             306. Pursuant to the ADA, Plaintiff’s need for seating as addressed

             above should be addressed by providing an adequate number of

             spaces available to allow for Plaintiff to have access to such seating.

          d. Failure to provide a sufficient dispersion of seating throughout the

             facility when dining surfaces are provided for the consumption of

             food or drink for a person(s) with a disability in violation of 2010

             ADAAG §§ 226, 226.2, 902, 305 and 306. Pursuant to the ADA,

             Plaintiff’s need for seating as addressed above should be addressed by

             dispersing the seating throughout the facility.

       Men's Restroom General

          e. Failure to provide proper signage for an accessible restroom or failure

             to redirect a person with a disability to the closest available accessible

             restroom facility in violation of 2010 ADAAG §§ 216, 216.2, 216.6,

             216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1. Plaintiff requires

             proper ADA signage because he is disabled and requires the use of a

             restroom properly equipped for persons with disabilities. As such,
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             Plaintiff should be directed to restrooms that are properly equipped for

             persons with disabilities.

          f. Providing a gate or door with a continuous opening pressure of greater

             than 5 lbs. exceeding the limits for a person with a disability in

             violation of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

             Plaintiff requires the door pressure to be no greater than 5 lbs. of

             continuous opening pressure due to his shoulder, back, and hand

             injuries. A door with excessive pressure causes undue strain and

             potential injury.

          g. Providing a swinging door or gate with improper maneuvering

             clearance(s) due to a wall or some other obstruction in violation of

             2010 ADAAG §§ 404, 404.1, 404.2, 404.2.4 and 404.2.4.1. Plaintiff

             requires an entry to the restroom with correct minimum clearance

             because due to Plaintiff’s hand, shoulder, and back injuries, Plaintiff

             utilizes the wall for leverage to access the restroom and to open the

             door. When there is insufficient maneuvering clearance, Plaintiff is

             unable to do so.

          h. Failure to provide proper knee clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§ 306,

             306.1 306.3, 606 and 606.2 Plaintiff’s back and knee injuries require
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             clearance under the sink to maintain balance while approaching and

             standing in front of a sink.

          i. Failure to provide proper toe clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§ 306,

             306.1, 306.2, 306.2.1, 606 and 606.2. Plaintiff’s back and knee

             injuries require clearance under the sink to maintain balance while

             approaching and standing in front of a sink.

       Men's Restroom Accessible Stall

          j. Failure to provide a coat hook within the proper reach ranges for a

             person with a disability in violation of 2010 ADAAG §§ 603, 603.4

             and 308. Plaintiff requires the proper placement of his dispenser due

             to his shoulder, back, and knee injuries. If this is not in the proper

             reach range, it requires unnecessary strain on his shoulder, back and

             legs in order to reach.

          k. Failure to provide a stall door handle on one or both sides of a stall

             door as required for a person with a disability in violation of 2010

             ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and 308. Plaintiff requires

             the use of an operable stall door handle due to his back and shoulder

             injuries. A stall door handle needs to be provided at a proper height
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             and placement in order for him to avoid unnecessary straining to use

             the operable part to enter, secure, and exit the accessible stall.

          l. Failure to provide the water closet in the proper position relative to the

             side wall or partition in violation of 2010 ADAAG §§ 604 and 604.2.

             Plaintiff requires the use of grab bars to get on and off of the toilet due

             to his back and knee injuries. If the toilet is not in the proper position

             from the wall, then he cannot use the grab bars and causes strain to his

             shoulder, back, knees and/or legs.

          m. Providing grab bars of improper horizontal length or spacing as

             required along the rear or side wall in violation of 2010 ADAAG §§

             604, 604.5, 604.5.1 and 604.5.2. Plaintiff requires the use of grab bars

             to get on and off of the water closet due to his back and knee injuries.

             Plaintiff requires the grab bars to be in a proper position as a result of

             his hand and shoulder injuries.

          n. Failure to provide sufficient clear floor space around a water closet

             without any obstructing elements in this space in violation of 2010

             ADAAG §§4.22.3, 603, 603.2.3, 604, 604.3 and 604.3.1. (trash can).

             Plaintiff requires the use of grab bars for assistance in getting onto and

             off of the toilet due to his back and knee injuries. When objects or

             items are positioned in the clear floor space around the water closet, it
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             obstructs the use of said grab bars making it difficult to use the toilet,

             particularly given his hand and shoulder injuries.

          o. Failure to provide operable parts that are functional or are in the

             proper reach ranges as required for a person with a disability in

             violation of 2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308.

             (toilet paper rolls blocking access to grab bars) Plaintiff requires the

             use of grab bars to get on and off of the water closet due to his back

             and knee injuries. Plaintiff requires the grab bars to be fully function

             as a result of his hand and shoulder injuries. The blocking of the grab

             bars creates an unnecessary hazard and barrier to access of the grab

             bars.

          p. Failure to provide toilet paper dispensers in the proper position in

             front of the water closet or at the correct height above the finished

             floor in violation of 2010 ADAAG §§ 604, 604.7 and 309.4. Plaintiff

             requires the proper placement of his dispenser due to his shoulder,

             back, and knee injuries. If this is not in the proper reach range, it

             requires unnecessary strain on his shoulder, back and legs in order to

             reach.

          q. Failure to provide proper knee clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§ 306,
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                306.1 306.3, 606 and 606.2 Plaintiff’s back and knee injuries require

                clearance under the sink to maintain balance while approaching and

                standing in front of a sink.

             r. Failure to provide the proper insulation or protection for plumbing or

                other sharp or abrasive objects under a sink or countertop in violation

                of 2010 ADAAG §§ 606 and 606.5. Plaintiff requires all exposed

                plumbing and sharp objects to be covered or protected due to his

                disabilities as they pose a safety concern, particularly given then

                approach to the sink that Plaintiff must make due to his back and leg

                injuries.

       Pathway from Pool

             s. Providing pathways and surfaces that are uneven in violation of 2010

                ADAAG §§ 206, 206.1, 206.2, 206.2.2, 303 and 403.4.           Plaintiff

                requires pathways and surfaces that are even as a result of his

                difficulties walking, back and knee injuries, and other physical

                ailments.

       30.      To the best of Plaintiff’s belief and knowledge, Defendant has failed

 to eliminate the specific violations set forth in paragraph 29 herein.
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       31.    Although Defendant is charged with having knowledge of the

 violations, Defendant may not have actual knowledge of said violations until this

 Complaint makes Defendant aware of same.

       32.    To date, the readily achievable barriers and other violations of the

 ADA still exist and have not been remedied or altered in such a way as to

 effectuate compliance with the provisions of the ADA.

       33.    As the owner, lessor, lessee or operator of the Premises, Defendant is

 required to comply with the ADA. To the extent the Premises, or portions thereof,

 existed and were occupied prior to January 26, 1992, the owner, lessor, lessee or

 operator has been under a continuing obligation to remove architectural barriers at

 the Premises where removal was readily achievable, as required by 28 C.F.R.

 §36.402.

       34.    To the extent the Premises, or portions thereof, were constructed for

 occupancy after January 26, 1993 the owner, lessor, lessee or operator of the

 Premises was under an obligation to design and construct such Premises such that

 it is readily accessible to and usable by individuals with disabilities, as required by

 28 C.F.R. §36.401.

       35.    Plaintiff has retained the undersigned counsel for the filing and

 prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’

 fees, costs and expenses paid by Defendant, pursuant to 42 U.S.C. § 12205.
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       36.      All of the above violations are readily achievable to modify in order to

 bring Premises or the Facility/Property into compliance with the ADA.

       37.      In instance(s) where the 2010 ADAAG standard does not apply, the

 1991 ADAAG standard applies and all of the violations listed in paragraph 29

 herein can be applied to the 1991 ADAAG standards.

       38.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

 to grant Plaintiff’s injunctive relief, including an order to alter the subject facility

 to make them readily accessible to and useable by individuals with disabilities to

 the extent required by the ADA and closing the Subject Facility until the requisite

 modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests

 the following injunctive and declaratory relief:

             1. That this Court declares that Premises owned, operated and/or

                controlled by Defendant is in violation of the ADA;

             2. That this Court enter an Order requiring Defendant to alter their

                facilities to make them accessible to and usable by individuals with

                disabilities to the full extent required by Title III of the ADA;

             3. That this Court enter an Order directing the Defendant to evaluate and

                neutralize their policies, practices and procedures toward persons with
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             disabilities, for such reasonable time so as to allow the Defendant to

             undertake and complete corrective procedures to Premises;

          4. That this Court award reasonable attorney’s fees, all costs (including,

             but not limited to the court costs and expert fees) and other expenses

             of suit to the Plaintiff; and,

          5. That this Court award such other and further relief as it may deem

             necessary, just and proper.


       Dated May 20, 2024.

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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 20, 2024, I electronically filed the

 foregoing document with the Clerk of Court using CM/ECF. I also certify that the

 foregoing document is being served this day on counsel of record in this action via

 transmission of Notices of Electronic Filing generated by CM/ECF.

                                       By: /s/ Gregory S. Sconzo
                                       Gregory S. Sconzo, Esq.
                                       Florida Bar No.: 0105553
